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                               UNITED STATES DISTRICT COURT

                                         DISTRICT OF UTAH


  UNITED STATES OF AMERICA,                                  ORDER CONTINUING TRIAL

       Plaintiff,

  v.
                                                                   Case No. 2:21-cr-00436 DS
  MATTHEW JONES,

       Defendant.


         Based on Mr. Jones’s stipulated motion to continue trial, the Court makes the following

findings:

  1. Defendant was arraigned on November 15, 2021, and a jury trial was scheduled to begin

        within the 70-day time period.

  2. Trial is currently scheduled to begin on January 24, 2022.

  3. This is the first request to continue trial in this matter.

  4. Defendant moves to continue the trial for 90 days pursuant to 18 U.S.C. § 3161(h)(7).

  5. This fraud case requires additional investigation before Mr. Jones can be prepared to go to

        trial. Following the completion of that investigation, time will be needed to determine

        whether the case can be resolved without a trial.

  6. Counsel anticipates that at least 90 days are needed to accomplish these tasks.

  7. The parties agree that the ends of justice served by continuing the trial outweigh the

        interest of the public and the Defendant in a speedy trial.

  8. Mr. Jones is not in custody.



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  9. Counsel has discussed this request with Assistant U.S. Attorney Carlos Esqueda, who

      stipulates to a continuance.

  10. There are no other defendants.

       Based on these findings, the Court concludes that failure to grant a continuance would

likely result in an injustice, deny Mr. Jones continuity of counsel, and deny the defense the

reasonable time necessary for effective preparations. 18 U.S.C. § 3161(h)(7)(B)(i), (iv).

Therefore, the Court finds that the ends of justice served by granting the continuance outweigh

the interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The

continuance is not based on congestion of the court’s calendar, lack of diligent preparation on the

part of the United States or the defense, or failure on the part of the attorney for the United States

to obtain available witnesses.

       Accordingly, Mr. Jones’s stipulated motion to continue is GRANTED. The court

continues the jury trial set for January 24, 2022, to   , 2022. The court excludes the time between

the date of this order and the new trial date from speedy trial calculations under 18 U.S.C. §

3161(h)(7)(A).

       Dated January , 2021.

                                               BY THE COURT:



                                               David Sam
                                               United States District Judge




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